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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

   AMERICAN FEDERTION OF
   STATE, COUNTY AND
   MUNICIPAL EMPLOYEES, AFL-
   CIO, et al.
       Plaintiffs,
                                                       Civil Action No. ELH-25-0596
       v.

   SOCIAL SECURITY
   ADMINISTRATION, et al.
       Defendants.



                              MEMORANDUM AND ORDER

       This Memorandum addresses the “Nunc Pro Tunc Motion to Extend Response Deadline to

Plaintiffs’ Amended Complaint” filed by defendants on May 5, 2025. ECF 159 (“Motion”).

Plaintiffs filed an opposition on May 7, 2025. ECF 161 (“Opposition”). Defendants replied on

May 8, 2025. ECF 162 (“Reply”).

       The parties are familiar with the procedural background. Therefore, I will only highlight

some of the filings, for context. And, for convenience, I shall sometimes refer to defendants as

the “government.”

                                           A. Background

       Plaintiffs filed an Amended Complaint on March 7, 2025. ECF 17. On April 4, 2025, they

moved for a preliminary injunction (ECF 110, ECF 110-1) (collectively, the “P.I. Motion”), which

defendants opposed. ECF 113. By Memorandum Opinion (ECF 146) and Order (ECF 147) of

April 17, 2025, the Court granted the P.I. Motion and issued a Preliminary Injunction. See ECF

147. That evening, the government filed a notice of appeal to the Fourth Circuit. ECF 148. In
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addition, the government filed a motion in this Court to stay the Preliminary Injunction, pending

appeal. ECF 149. And, on April 18, 2025, defendants moved for a stay in the Fourth Circuit.

Case No. 25-1411, Docket Entry No. 6.

       By Memorandum and Order (ECF 154) of April 22, 2025, I denied the government’s

motion for stay. Id. And, by Order of April 30, 2025, the Fourth Circuit, sitting en banc, denied

the government’s motion for stay. Case No. 25-1411, Docket Entry No. 20.

       Accordingly, on May 2, 2025, the government filed an application for stay in the United

States Supreme Court. See Application for Stay, Soc. Security Admin. v. Am. Fed’n of State, Cnty.

and Municipal Employees, AFL-CIO, No. 24A1063.              The government also requested an

administrative stay of this Court’s order pending the Supreme Court’s consideration of the

government’s stay application. Id. The Supreme Court has directed plaintiffs to respond by 4:00

P.M. on May 12, 2025. The matter is pending.

       In the interim, the Fourth Circuit has agreed to hear en banc the merits of the appeal

concerning the Preliminary Injunction.       Case No. 25-1411, Docket Entry No. 27.            The

government’s opening brief on appeal is due June 9; plaintiffs’ response is due July 9; and the

government’s reply is due within 21 days of service of plaintiffs’ response. Id., Docket Entry No.

21.

                                             B. The Motion

       In the Motion, the government acknowledges that, pursuant to Fed. R. Civ. P. 12(a)(2), it

was required to respond to the Amended Complaint by April 28, 2025. ECF 159 at 1. 1 The



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         Fed. R. Civ. P. 12(a)(2) provides: “The United States, a United States agency, or a United
States officer or employee sued only in an official capacity must serve an answer to a complaint,
counterclaim, or crossclaim within 60 days after service on the United States attorney.”
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government explains that it did not do so because “counsel for the government inadvertently failed

to include the response deadline in its litigation calendar.” Id. Defendants now ask the Court to

extend “the deadline to answer or otherwise respond to the amended complaint . . ., nunc pro tunc,

until thirty days after the conclusion of Defendants’ ongoing appeal to the United States Court of

Appeals for the Fourth Circuit from this Court’s April 17 Preliminary Injunction.” Id. The

government states, id. at 3: “[I]f required to respond to the amended complaint at this time,

Defendants would move to dismiss based on many of the same arguments that are already before

the Fourth Circuit. It would be highly inefficient for the parties to brief those issues again—having

already done so recently on Plaintiffs’ motion for a preliminary injunction—before the Fourth

Circuit has decided them on appeal.” In addition, defendants maintain that plaintiffs “will not be

prejudiced by the requested extension”, as plaintiffs “have already obtained preliminary injunctive

relief . . . .” Id.

         As noted, plaintiffs oppose the Motion. ECF 161. In their view, “there is no reason to

accept the uncertainty of an indefinite extension and the attendant delay to Plaintiffs obtaining

permanent relief from this Court.” Id. at 2. They posit, id. at 3: “Even if the Fourth’s Circuit

decision on the preliminary injunction—which will not be entered until at least mid-July, and likely

much later—were favorable to Defendants, it would demonstrate only that the Fourth Circuit

deemed Plaintiffs not likely to succeed on the merits of their claims. That determination would

have limited applicability to the less stringent and far narrower question on a motion to dismiss

. . . .” Plaintiffs add, id.: “Analysis from the appellate court on the likelihood of Plaintiffs suffering

irreparable harm is likewise far from dispositive on a motion to dismiss.”

         In the Reply, the government asserts that, “[a]t a minimum, a decision from the Fourth

Circuit would provide the parties and this Court prospective guidance.” ECF 162 at 2. According
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to the government, this is especially true on the issue of standing. Id.

        In effect, the government seeks an indefinite extension to respond to the suit. The briefing

in the Fourth Circuit will not be completed until late July, at the earliest. To my knowledge, the

Fourth Circuit has not set an argument date. And, even after argument, it is not known how long

it will take the Court to rule.

        As indicated, the government posits that plaintiffs will not be injured by the requested

extension, because they have already obtained a Preliminary Injunction. ECF 159 at 3. But, the

government does not engage with the fact that it has asked the Supreme Court to stay the

preliminary injunction pending resolution of the appeal in the Fourth Circuit. The matter is

pending. But, if the government is successful, the Preliminary Injunction will essentially become

inoperative. The Social Security Administration (“SSA”) would then be permitted to provide the

DOGE Team with unfettered access to SSA’s systems of record, which contain sensitive,

personally identifiable information of plaintiffs’ members. See, e.g., Alan S. Blinder, What Social

Security Could Teach DOGE About Efficiency, WALL ST. J. (May 8, 2025). And, that circumstance

would continue throughout the pendency of the matter in the Fourth Circuit. At a minimum,

several months will elapse before the Fourth Circuit resolves the appeal.

        For the reasons set forth in my Memorandum Opinion (ECF 146), defendants have not

established that the DOGE Team has a need for access to such a broad swath of confidential

information, as is required by the Privacy Act, 5 U.S.C. § 552a. Id. at 116–35. Moreover, for the

reasons set forth in my Memorandum Opinion, the DOGE Team’s broad, unfettered access to the

sensitive information at issue, without adequate need, irreparably harms plaintiffs’ members, by

way of a severe and ongoing invasion of privacy. See id. at 138–42.

        Access to confidential information would continue indefinitely if the stay is granted by the
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Supreme Court. And, if the government’s Motion is also granted, the litigation itself would be

stalled.

           Conversely, in the event that the Supreme Court denies the government’s request for a stay,

the SSA would have the right to disclose non-anonymized data, but only as outlined in and

consistent with the Preliminary Injunction. With such a restriction, any injury to plaintiffs from

access to SSA records would be limited. In that circumstance, it would be reasonable to extend

the government’s response deadline pending resolution of the appeal in the Fourth Circuit,

particularly because the Fourth Circuit’s opinion will presumably provide guidance on at least

some of the arguments the government may raise in a motion to dismiss. On balance, however, if

the stay is granted, SSA’s provision of the access to confidential information would create urgency,

such that a delay in the progress of the litigation could not be justified.

           Therefore, the deadline for defendants to file a responsive pleading to the Amended

Complaint is hereby EXTENDED through fourteen days after the Supreme Court rules on

defendants’ application for stay. In the event that the Supreme Court denies the stay request, the

government may seek a further extension of time to respond to the Amended Complaint.

           It is so ORDERED this 9th day of May 2025.

                                                               /s/
                                                        Ellen Lipton Hollander
                                                        United States District Judge




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